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AGREEMENT FOR SERVICES

THIS AGREEMENT FOR SERVICES (this “Ag;eement”) is made effective as of the later of the dates set
forth below the signatures below (the “Eff`ective Date”) by and between Electric Forost, LLC (“Electric Forest” or
“Producer") and.John E. Hey¥soop DBA Eagle Towing 4- Recove'ry (“Company”).

 

RECITALS

A. Electric Forest is the Producer of a live music festival known as “Electric Forest” to be held in
Rothbury, Michigan at the Double ll Ranch & Golf Resort (the “Premises") on 'l`hursday luna 21, 2018 to Sunday
luna 24, 2018 and "Ihursday June 23, 2018 to Sunday July l, 2018, (both weekends collectively referred to as the 7
“Event”).

 

B. Producer desires to engage Company for services in connection with E`.vent, and Cornpany desires
to provide such services, on the terms and conditions set forth in this Agreement.

AGR_EEMENT

In consideration of the mutual covenants that are contained in this Agreernent, the parties hereto hereby
agree as follows:

l. SCOPE OF SERVICES. Producer hereby engages Company, and Company hereby agrees, to provide the
services more-fully described on Exhibit A attached hereto and made a part hereof {the “Services”):

l.i Company shall provide all personnel required in order to provide the Services.

1.2 Except for those items, if any, expressly required by this Agreement to be furnished by Producer,
Company shall furnish or provide all of the materials (including equipment and supplies, uniforms, communication
equipment and any other equipment) and all other items necessary to perform the Services and to carry out and
perform all of Company's obligations under or pursuant to this Agreement. Company hereby acknowledges that
total Compensation (as defined beiow) set forth on Exhibit B is inclusive of all materials and transportation
required to provide the Services.

1.3 Upon request from Producer, Company shall immediately reassign or remove from the
performance of the Services hereunder any of its employees or personnel supplied by Company, including any
supervisory personnel, who, in the sole judgment of Producer, engage in improper conduct, are not suitany attircd
or neatly groomed, or are not otherwise in the reasonable judgment of Producer, suitable or acceptable to perform
the Servic_es or any tasks assigned to them, '

1.4 Company shall comply with and conform to ali rules, regulations and directives issued by Froducer
or their designees from time to time and shall cause its Representatives {as defined below) to comply with and
conform to all of the same. If applicable, upon the expiration or sooner termination of this Agreernent, Company
shall promptly remove all of its materials from the location(s) of the Event.

1.5 if necessary for Company to fulfill its obligations hereunder, Producer will give Company that
number of tickets or passes to the Event determined by Producer after consulting with Company for Company’s
employees actually vvorking at the Event. Any resale, distribution7 transfer or misuse of such Event tickets or
passes is strictly prohibited and breach of this-provision will be a material breach hereunder. In addition, Company
shall be charged the value of any tickets or passes transferred in breach of this provision

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2. l 7 TERM._ The term of this Agreement shall commence as of the Effectivc Date hereof and shall continue
through Wednes_day Aug`ust 1,2018 unless sooner terminated 111 accordance With the terms and conditions of this
A_greernent. . .

3. ` QOMPENSATION As full and complete compensation for all of the Services to be provided by
Company pursuant to this A§ecment, Producer shaii remit payment to Cornpany as more fully described 011
Exhibit B attached hereto and made a part hereof (the “Compensation”). Except as otherwise set forth on Exhibit
§, all sums due to Cornpany under this Agreement shall be paid by Producer to Company within thirty (30) days
following receipt by Producer of an invoice from Cornpany fully describing the work performed including the
number of hours worked by Company personnei, if applicable, and the compensation due to Company, if any.

4. SAFETY AND LEGAL REQUIREMENTS; AUTHORI'I`Y. Without in any way limiting any other

term or provision of this Agreernent or any obligation of Company hereunder, Cornpany shall do or cause to be

done all of the following: (a) perform the Services in a first-class manner that shall protect the health and safety of
Company and Producer employees, agents and the public generally; (b) comply With all iaws, policies, rules, and
regulations applicable to the Services; (c) if an authorized-management person of Producer is not available, then
contact the proper.local authorities for assistance when such assistance is appropriate for safety; and (d) obtain,
maintain and comply with ali licenses, pennits, franchises and approvals from any governmental authority that may

be required to enable Company to perform all of the Services and fulfill all of its obligations under this Agrcement;

and (e) understand that Producer relying on Company’s expertise in the performance of the Services, ensure
Company’s employees, subcontractors and personnel comply with best practices for its industry; (t) if the Services
include erection of any structure_at the Event, prior to the commencement of the first presentation of the Event_.
Cornpany shall provide to Producer a certificate from a qualified engineer certifying that or to the effect that any
structure erected for thel purpose of the staging of the Event complies with all relevant regulatory requirements and .,
consents and is otherwise soundly constructed and safe having regard to the purpose for which it was constructed o _'-`
Company- represents and warrants that (a) it has the full right and authority to enter into and fully perform this
Agrcemcnt in accordance with its tenns (b} this Agreement constitutes a valid, binding and enforceable agreement

of Cornpany, (c) the execution, delivery and performance of this Agreernent will not violate the provisions of any
agreement to which it is a party or by which it is bound, and (cl) each of its employees, subcontractors or other
representatives who will be operating a motor vehicle heavy machinery, or similar equipment are duly licensed to

do so and have no history of reckless operation or drugor alcohol convictions

 

 

5. E§ZUIPMENT WARRANTY. If the furnishing or provision of equipment is part of the Services,
Cornpany hereby represents warrants and covenants that: (a) all equipment will be free from defects in
workmanship and material and conform in ali material respects to all specifications provided by this Agreement, (b)
all equipment shall be of high quality material and shall be free of liens and encumbrances except for liens or
encumbrances arising in the normal course of business by operation of law that arc not at the particular time in
question due and delinquent (c) the equipment shall comply with all laws and regulations applicable to the
cquipment, and (d) the equipment is fit for its intended purposel

6. INDEMNIF!C§! I()N. Cornpany agrees to indemnify, defend and forever save and hold harmless the
Producer, its affiliates or related cnti`ties, artist(s_), 130-promoters (if any}, the venue, and sponsors and their
respective principals, shareholdersj 1111~':1nbers7 partners, officers directors, employees, representatives tenants
agents, contractors and volunteers (sometimes collectively referred to herein as the V“lndemnitees” and individually
as a “Indemnitee ) from_ and against any and all damages, claims,~ iosses, demands, costs expenses (including
attorneys fees and costs), obligations iiens, liabilities actions and causes of action, threatened cr actuai which any
one ot` the Indemnitees may suffer or incur arising directly or indirectly out of or in connection with the
performance of the Service_s or the failure of Company or its officers, directors, _shareholders, owners, employees,
representatives,- agents contractorsfor volunteers .‘(iRepresentatives”) to perform the Services in accordance with
the terms of this A_greer`r`ient, except to the extent arising from the gross negligence or willful misconduct of
Producer. The foregoing indemnification shall survive any termination or the expiration of the term of this

Agreement. . _ _ g j§s
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7. _.INSURANCE Without in any way limiting or altering the indemnification requirements of Cornpany
under or pursuant to this Agrecrn`ent Conrpany shall, at its sole expense, procure and at all times maintain during
the term ofthis Agreement all of the following insurance: (a) Commercial general liability insurance with a limit of
not less than $l, 000, 000 per each occurrence and $3, 000, 000 in the aggregate (b) to the extent al:)plical:ale3 workers’

compensation insurance with statutory benefits as required by any state or federal law and employer liability
insurance with a limit of riot less than $1,000,000 and shall include a waiver of subrogation, and (c) to the extent
applicable as it would pertain to the Services, business auto liability insurance with a limit of not less than
51,000,000 each accident The insurance required hereunder shall be considered primary and non-contributory
insurance and all insurance carried by_ Producer, its agents, employees, and the parties for which it is operating,
shall be considered secondary in relation thereto Concurrcntly with the execution of this Agreement and at such
other times as reasonably requested by Producer, Company shall deliver to Producer certificates of insurance
confirming the existence of the insurance required by this Agreenrent and which shall endorse Eleetric Forest,
LLC; Madison House Present:s, LLC; Insomniac Hoidings, LLC; AEG Presents, LLC; Ansehutz
Entertainment Gmup, LLC; Live Nation Entertainment, Inc.; Antler Bar Amusements, LLC; Thoroughbred
Investrnents, LLC; Double .IJ Propco, LLC; and their respective parents, affiliates officers, directors,
reprcseru;ativeso employees, subcontractors, and any other party reasonably designated by Producer as additional
insureds Nothi.ng contained herein shall be construed as limiting in any way the extent to which Company may be
held responsible for payment of damach or other sums to persons or property resulting from Company’s or
Cornpany’s Reprcsentativcs’ performance or failure to perform under this Agrecinent or resulting from any other
acts or failure to act on the part of Cornpany. Cornpany shall promptly furnish to Producer loss information
concerning all claims brought against Cornpany in connection with the Prernises and/or the Event. The foregoing
shall not release Company of any of its obligations hereunder Such loss information shall include the date of the
occurrence, the identity of the claimant, the details of the claim and such additional specific facts as Producer may

reasonably request.

8. WAIVER BY CCMPANY. Company agrees that Producer shall not be responsible for any loss or
damage to any property of Company resulting from tire, then or any other cause unless due to the negligence or
willful misconduct of Producer and,` except to the extent expressly provided herein, Company expressly assumes all
risks of loss, damage or destruction of or to any of its property resulting from any such causes

9. TERMINATION. This Agreement may be terminated (a) by Producer immediately upon notice to
Company if Cornpany fails, refuses or neglects to perform each and every one of the Services to be performed by
Company under or pursuant to this Agreement or upon the breach by or failure of Colnpany to perform any of its
obligations or covenants under this Agreement, (h) by Producer, with or without cause, upon five (5) days written
notice to Company, or (c) by Cornpany upon the failure of Producer to perform any of its material covenants and
conditions hereunder which has not been cured within thirty (30) days following written notice from Cornpany to
Producer, or, if cure is not possible within said thirty (30) day .period, if Producer has not taken meaningful steps
within such time period to cure such default or (d) the filing by or against any party of a petition for bankruptcy or
for relief from creditors.under any equivalent state law or regulation Following any temiination of this Agreernent,
Producer shall only be required to pay to Company any compensation earned by Company for any Services
satisfactorily performed by Cornpany prior to the date of such termination

lO. INDEPENDENT CONTRACTOR STATUS. Company is engaged hereunder as an independent
contractor and as such shall be solely responsible for full compliance with all requirements under all laws and
regulations now or in the future applicable to Cornpany, its business affairs and its performance of its duties under
or pursuant to this Agreernent, including without limitation state and federal taxes applicable to this Agrcernent
(inclu_ding payroll taxes), unemployment insurance and other insurance applicable and necessary with respect to its
employees and all of its duties and obligations as an employer. The relationship created by this Agrccment 15 that
of independent contractors and nothing contained m this Agreement shall be deemed or construed as creating any
partnership, joint venture, employment relationship agency or other relationship between the parties or to make

Producer liable for the debts or obligations of Company No Representa'tive of Company shall §§ denied at any

 

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time to be an employee, servant, or agent of Producer for any purpose whatsoever Cornpany shall require all of its
Representatives to refrain from making any representation by word or conduct whereby any other person might
understand or believe that such persons are Representative_s ofProducer

l l. 'INTELLECTUAL PRQPERTY. Conipany agrees that (a) nothing in this Agreernent is intended to convey
any ownership or other rights in the trademarks service marks, copyrights or other intellecn.ral property rights
belonging to the Event, Producer, artist(s) or their respective affiliates (sornetimes collectively and individually referred
to herein as, the “'I`radernarks”), (b) ownership of all such Tradernarics shall remain the property of their owners, and (c)
Cornpany will not use any Tradernarks under any circumstances without the prior written consent of Producer,
which consent Producer may withhold in its sole and absolute discretion Notwithstanding anything to tire contrary
contained herein, Company acknowledges that Producer and its designees may film footage and photograph
activities from the Event; accordingly Cornpany grants Producer a non~exclusive, perpetuai, worldwide, license to
use the Cornpany’s trademarks, and Cornpany shall ensure that its agents, contractors, and employees license to
Producer the right to their likeness, to the extent such are incorporated in an incidental manner in audio visual
productions and other promotional materials created by Producer or its designees concerning the Event and in
connection with the exploitation, marketing and promotion of such productions, in any manner or medium now

known or hereafter devised

12. CONFIDENTIAL INFORMATION. During the term of this Agreement, Company and its
Representatlves may gain access or be exposed to`oer'tain confidential and proprietary information relating to the
Event or the business of Producer oriits aiiiiiates. Compan`yagrees,. for itseif and its Representatives§ that all such
confidential and proprietary information shall remain and be,kept in strictest confidence and shall not be disclosed
to or used by any person or entity without rhe"prior written consent of Producer, which consent may be withheld by
Producer in its sole and absolute discretion 'i`he obligation to maintain confidentiality provided herein shall
survive any termination or expiration of the term of this Agre`ernent and may be enforced by injunctive relief or
other equitable or legal remedies without the necessity of proving inadequacy of legal remedies and without
proving that Producer or any of its affiliates or Representatives Wouid suffer irreparable harm as a result of a
violation of such confidentiality obligation Any public announcement regarding this Agreement or the Event shall
be made only by Producer.

13. EFFECT OF AGREEM`ENT/ASSIGNMENT. This Agreement shall be binding upon and shall inure to
the benefit of the‘par_ties hereto and to their respective permitted successors and assigns; provided, `however, that
this Agreernent may not be assigned by Company, nor may any of Company’s duties hereunder be delegated,
without the prior written consent ofProducer. Any purported transfer in violation of this section Will be void.

14.- FORCE MAJEURE EVENT. 'i`he failure of any party to comply With its obligations hereunder shall be
excused to.the extent such party’s performance has been'ren'dered impossible as a resuit of illness or death of an
artist or other artist unavailability, an act of God, strike, labor dispute war, f re earthquake act of public enemies,
acts of terrorism action of federai, state or local governmental authorities or for any other reason beyond the
reasonable control of the party claiming protection by reason of such force majeure event (a “§o,;cel\dw%_ag§,ur§
Event”). la the event an Event or any portion thereof rs cancelled by reason of a Force Majeure Event, Producer
may terminate this Agreernent immediately as t_o that Event or such portion thereof and shall have no further
obligations to Cor`npany hereunder as it relates to that Event or such portion thereof

t$. ' NOTICES. Except as otherwise expressly provided in this Agreernent any and all notices or other
communication required or permitted under or pursuant to this Agr_eement shall be 111 writing and shall be delivered
either by personal delivery, including delivery by a recognized courier service, or by certified or registered maii,
return receipt requested postage prepaid by U_nite`d' Statcs mail, addressed to the address set forth below such

party s signature line. Ail notices shall be deemed delivered either upon actual receipt thereof if personally
delivered, or, if mailed, on the third day following deposit rn the United States mails as provided above Either
party may change the address at which it receives notices by notifying the other party of such chan e ips the manner

provided herein ` ‘_

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l6. . WAIVER. No course of dealing or delay by either party to this Agreernent in exercising any right, power
or remedy under this Agreement will operate as a walver,ot"-'any-`right, power or remedy of that party, and no waiver
by a party of a breach of any provision of this Agreement will not be considered or constitute a waiver of any
succeeding breach of the provision or a waiver of the provision itselt_`._ _ ` ' 1

l'?. CHOICE OF LAW; FORUM SELECTION CLAUSE. The validity, interpretation, construction and
enforcement of this Agreement shall be governed and controlled by the laws of the State of Calit`ornia, without
regard to that State’s rules with respect to choice of law. Any dispute arising out of or related to this Agreenrent
must be brought in federal or state court in Los Angeles County, Caiit`ornia, and the parties hereby consent to the
exclusivejurisdiction and venue of such forum.

lS. RECORDS!AUDITS. ’l`o the extent necessary to calculate the total payments due to Company hereunder,
Cornpany shall keep records of expenses pertaining to the Services in sufficient detail to allow Prociucer to fully
review, audit and understand the same Producer shall have the right at any time and from time to time to audit
Cornpany’s billings and records associated with the Services. Company shall maintain, preserve, and make
available for inspection, audit, and reproduction for at least menty»fou.r (24) months following the submission of
the final invoice','the-bool<s, records,~ agreements, and other documents used in determining any cost'incurred and
billed to Producer during the performance of this Agreernent. If any such audit reveals inaccuracies in the billings, _
the necessary adjustment shall be made promptly '

19. ENTIRE AGREEMENT / M{SC. This Agreernent expresses and contains the entire agreement and
understanding between the parties hereto with respect to the subject matter hereof and supersedes and replaces any
and all prior agreements and understandings either oral or written, with respect to the subject matter hereof.
Agreement shall not be construed against the dratter. This Agreernent shall not inure to the benetit, or create any
right or cause of action in or on behalf of, any person or entity other than the parties If any covenant, tenn or
provision of this Agreement is deemed to be contrary to law, that covenant, term or provision will be deemed
separable from the remaining covenants, terms and provisions of this Agreement and will not affect the validity,
interpretation or affect the remainder of this Agreement. Thjs Agreernent may not be modified, altered or amended
except by a written instrument signed by both parties -This Agrcernent may be executed in counterparts, each of
which shall be an original, but all of which together shall constitute one and the same agreement Facsirriile,
electronically scanned, electronic and/or digital signatures shall be deemed original for ali purposes 'I`he parties agree
to take such further acts and to execute such further documents`that may be necessary or convenient to carry out the
intents and purposes ofth'is Agr'ee`rnent.j_:_ ` ` _ ‘

IN WITNESS WHEREOF the parties have executed this Agreernent and have made it effective as of the
day and year first above written ` t - ~. - ,

 

- t ELECTRIC_FOREST, LLC=

 

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By¥ ~)Oh/] /M By: ' easeaaseae.[? S"-:nu...

Date: OWD$:// g - l

lohn E. Heykoop DBA Eagle Towing + Recovery 7
10255 Old US Hwy 3l

Montague, MI 4943?

:Ph_one: _

Attention: John E. Heykoop- ` '

" sors'-'_ q

Name: Iererny wStein
Title: President

2/9 2018
Date /

 

_ -Eiectric Forest, LLC
.- l40l Walnut Street, Suite 500
_ Boul_€ier, CO 30302

303.554.9900

Attent_ion: _lererny Stein ns n
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Cornpany shall provide Produ'ce'r the following Services:

Onsite towing serviccs, as outlined below, as weil as necessary equipment and personnel required to provide such
Services. l

On Site Start Datc (First Work Date): June 15, 2018
011 Site End Date (Last Worl< Date): .luly 8, 2018

v Eight (8) Managers

¢ Twenty-Hve (25) Stafl`
Removal of up to sixty (60) vehicles parked on the Premises during the first weekend that are unable to be
removed by Event patron at no fault to the Event patron Company to compile and submit a summary by Event
patron narne, vehicle description and type of service rendered

0 Rcrnoval of up to sixty (60) vehicles parked on the Prernises during the second weekend that are unable to be
removed by Event patron at no fault to the Event patron Company to compile and submit a summary by Event
patron name, vehicle description and type of service rendered
Responsive, friendiy, and helpful customer service
'Towing msurance coverage
Company to tow Event patron vehicles to a temporary impound lot on the Pr`emises Event patton vehicles will
be impounded as directed by Produccr’ s Operations Manager, Producer’ s Parl<ing manager on duty, law
enforcement officers and/or the fire department if such vehicles are parked` 111 unauthorized locations or when _
the vehicle 1s an obstacle Any extraneous tow requests to be approved by the Producer’ s 0perations Nlanager.
'l`he fee to release the vehicle from the impound lot will be the sole cost of the Event patron.

Company shall provide Event patron(s), (the‘ "Customer’ or “Custorners”) with the following additional services for
a fee. ”l`he Cnstomer(s) is responsible for any and all fees associated with such additional services, as listed in
Exhibit B. Company to fully disclose all fees associated with additional services prior to services being rendered

Towing
Cornpany to tow Custorner’ s stranded vehicle to a desired location, and/or the nearest available car dealership or

auto body shop

Lock Out
Company will arrange for a third party locksmith company to assist Custoiner with re-entry into their vehicle

Tire Change
Cornpany to change a flat tire and replace Customer s spare tire using Company provided tools

Jump Start
Company to charge Custorner s battery using Company provided jumper cables

* Company hereby acknowledges that total Compensa!ion serfath orr Exhibi! B below is inclusive ofcu'l gear and
transportation requiredth provide services outlined herein.‘

Producer may', at`any'tirne, by written'notice to Cornpany', make changes to the Services within the general scope of
this -A`greement by revising the description of Serviccs set forth herein Should any such change increase or
decrease the Compensation due to Company, proper adjustments shall be made to the Compensation. Within ten
(10) calendar days of the completion of Scrvices, Company shall provide to Producer a tinal` invoice detailing the
total Services provided to Producer as well as the total amount of Compensation due to Company, less any
payments applied (hereinafter referred to as the “Final Invoicc ’). j§$

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in accordance with Section 3 of the Agreement, Company shall receive Compensation as follower

Compensation is contingent upon total Services provided to Producer. As of the date of this
Agrecrnent the total Cornpensation due to Cornpany is Three Thousand i)cllars and Zero Cents
($3,000.€}0) (amount is inclusive of any and all taxes, fees and dues affiliated with Services).

Ccmpany to retain any and all monies collected for additional services provided to Customers,
according to the rates listed below Company to fully disclose fees associated with additional services
prior to services being rendered, except for impounding services

lmpounding $135.00

'l`owing - -~ variable and ata fair market price " " '
Lock-Out $5(}.00

Tire Change 350.00

Jump Starts SSO.{}U

Compensation Shall not exceed what is outlined herein without prior written consent from Producer. Any additional
needs by Company that will be provided by Producer are outlined on Exhibit C, if applicable Exhibit C is for
informational purposes only, and is subject to change by Producer without notice Final needs will be determined
based on need and the event budget, and all approved requests will be communicated prior to the Event.

Payment Terms:
~ Fii’ty Pcrcent (50%) of the Total Compensation is payable upon the full execution of

this Agreernent and upon receipt by Producer of all paperwork required by Producer,
including the rni_:ltuallj,rv reviewed and agreed upon request form for on-site
requirements; and '

- Any remaining Com_pensation due to Company shaii-be payable as set forth in Secticn
3 of this Agreenient upon successful completion of the Services, (including but not
limited to, the removal of any and all materials prepared or delivered to the Prernises

' on behalf of Company), pending full execution of this Agreement and receipt by
Producer of all requested documents outlined herein, if any, including but not limited
to certificates oi` insurance and_a verifiable and accepted Finai Invcice as referenced in

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'EXHIBIT C `
PRO:)UCER PRQVIDES

**AB dat§,mnst Be»pre-epproved by Producer in writing**
***Final approved requests wi}i be communicated prior to the Event**"°

Producer shaii provide Company the following based on actual onsite dates:

.I'\I¢

Worl<ing credentials for thirty three (33) Staff`.
Camping passes for twenty five (25) Staff.
Thirteen (13) radios.

Four (4) golf carts.
Fina] approved requests including but not limited to a designated Work area, fencing, portolets, §ighting,

etc. will be mutuallylagreed upon by Company and Producer, per advance

*“'All dates must be pre-approved by Produeer in writing**
*** Final approved requests wi_ll be communicated prior to the Event *"‘*

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Company m user

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